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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION


WAYLON BAILEY                                      CASE NO. 1:20-CV-01211

VERSUS                                             JUDGE JOSEPH

RANDELL ILES ET AL                                 MAGISTRATE JUDGE PEREZ-MONTES

                                   MINUTES OF COURT:
                                   Scheduling Conference
 Date:               February 10, 2021       Presiding: Magistrate Judge Joseph H. L. Perez-
                                             Montes
 Court Opened:       3:00 p.m.               Courtroom Deputy: Yvonna Tice
 Court Adjourned:    3:15 p.m.               Court Reporter:       Zoom Recording
 Statistical Time:   00:15                   Courtroom:            Video Conference

                                      APPEARANCES
 Emily Westermeier, by video                For   Waylon Bailey, Plaintiff
 Eli Meaux, by video                        For   Randell Iles, Defendants, et al

                                      PROCEEDINGS

Scheduling Conference Held.


RULING/COMMENTS:
A THREE-DAY jury trial, 2nd setting, is scheduled for May 9, 2022 at 9:00 a.m. A pretrial
conference is set for April 19, 2022 at 11:00 a.m. in chambers.
